                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )       Case No. 3:02CR156-T
               vs.                                    )       (Monetary Penalties Unit)
                                                      )
JAMES EDWARD MCLEAN, JR.                              )       WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and ANY OTHER AUTHORIZED PERSON:

       A judgment was entered on November 22, 2002, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, James Edward McLean, Jr., whose last known address is LSCI-Butner, P.O. Box 999,

Butner, NC 27509, in the sum of $21,000,000. The balance on the account as of October 6, 2008,

is $8,629,852.67.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and any person having custody is commanded to turn over property in which the defendant, James

Edward McLean, Jr., has a substantial nonexempt interest, the said property being all right, title and

interest in all shares of stock in First Beneficial Mortgage Corp., a North Carolina corporation, in

the name of James Edward McLean, Jr.




                                                  Signed: October 15, 2008




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